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        United States Court of Appeals
             for the Fifth Circuit
                              ___________                      United States Court of Appeals
                                                                        Fifth Circuit


                               No. 24-60040                           FILED
                              ___________                         July 11, 2024
                                                                 Lyle W. Cayce
Intuit, Incorporated,                                                 Clerk

                                                                        Petitioner,

                                    versus

Federal Trade Commission,

                                                                     Respondent.
                ______________________________

                 Petition for Review from an Order of the
                        Federal Trade Commission
                             Agency No. 9408
                ______________________________

ORDER:
       IT IS ORDERED that Respondent’s unopposed motion for leave
to file supplemental briefs is GRANTED.                Respondent may file a
supplemental brief of no more than 1,500 words 10 days after the filing of the
reply brief, and the Petitioner may file a supplemental brief of no more than
1,500 words 10 days thereafter.



                                   /s/ Dana M. Douglas
                                   Dana M. Douglas
                                   United States Circuit Judge
